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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF FLORIDA
                              TALLAHASSEE DIVISION


MARK THREATTS,

   Plaintiff

                                                   CASE NO.: 4:18-cv-00291-MW-CAS
-vs-

VERIZON COMMUNICATIONS, INC.
et al.,

   Defendant.
                                      /

                                     NOTICE OF SETTLEMENT

       Plaintiff, Mark Threatts, by and through the undersigned counsel, hereby notifies the

Court that the parties have reached a settlement with regard to this case and are presently drafting

and finalizing the settlement agreement, and general release or documents. Upon execution of

the same, the parties will file the appropriate dismissal documents with the Court.

       Dated: August 8, 2018



                                                     /s/Octavio Gomez__________
                                                     Octavio Gomez, Esq.
                                                     Florida Bar No.: 338620
                                                     Janelle Neal, Esq.
                                                     Florida Bar No.: 774561
                                                     TGomez@ForThePeople.com
                                                     JNeal@forthepeople.com
                                                     Morgan & Morgan, Tampa, P.A.
                                                     201 N. Franklin Street, 7th Floor
                                                     Tampa, FL 33602
                                                     Tele: (813) 223-5505
                                                     Fax: (813) 223-5402
                                                     Attorney for Plaintiff
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                              CERTIFICATE OF SERVICE


I HEREBY CERTIFY that on this 8th day of August, 2018, a true and correct copy of the

foregoing has been filed with, and provided to all counsel of record, via the Court’s CM/ECF

system.



                                                 /s/Octavio Gomez__________
                                                 Octavio Gomez, Esq.
                                                 Florida Bar No.: 338620
